Case 1:20-mj-02250-CMM Document 3 Entered on FLSD Docket 02/20/2020 Page 1 of 1


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                     CaseNo.20-2250-M J-M CAL1LEY (SEALED)



 UM TED STA TES O F A M ER ICA ,
          Plaintiff,


 V.



 PEDRO ANTOM O AQUINO-EUFM CIA,
         Defendantts).
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       TH IS C A U SE cam e before the Court and Pursuant to Proceedings it is

 thereupon,PU R SU AN T TO TI'
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